                                                          EXHIBIT
Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17  19:17:55A Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
               Exhibit Commonwealth Fiscal Plan Page 20 of 38
Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
               Exhibit Commonwealth Fiscal Plan Page 21 of 38
Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
               Exhibit Commonwealth Fiscal Plan Page 23 of 38
Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
               Exhibit Commonwealth Fiscal Plan Page 25 of 38
Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
               Exhibit Commonwealth Fiscal Plan Page 27 of 38
Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
               Exhibit Commonwealth Fiscal Plan Page 33 of 38
Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
               Exhibit Commonwealth Fiscal Plan Page 34 of 38
Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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Case:17-03283-LTS Doc#:605-1 Filed:07/09/17 Entered:07/09/17 19:17:55   Desc:
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